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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


RICHARD MAXIMUS STRAHAN,

                Plaintiff,

        v.                                             Civil Action No. 21-1131 (TJK)

MICHAEL PENTONY et al.,

                Defendants.


                                              ORDER

        On February 22, 2022, Defendant Arthur Sawyer filed a Motion to Dismiss in the above-

captioned action. ECF No. 71.

        It is hereby ORDERED that Plaintiff shall file his response to Defendant’s Motion by

April 4, 2022. Because consideration of the Motions could potentially dispose of the case,

Plaintiff, who is proceeding pro se, is advised of the following:

        In Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988) (per curiam), the Court of Appeals

held that a district court must notify a pro se party of the consequences of failing to respond to a

motion that, if granted, would result in the end of the lawsuit. “That notice . . . should include an

explanation that the failure to respond . . . may result in the district court granting the motion and

dismissing the case.” Id. at 509. In addition, the Court’s local rules concerning dispositive

motions require that “[w]ithin 14 days of the date of service or at such other time as the Court

may direct, an opposing party shall serve and file a memorandum of points and authorities in

opposition to the motion . . . [or] the Court may treat the motion as conceded.” Local Civil Rule

7(b).
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       Furthermore, the Court may treat as conceded any unopposed arguments Defendants

advance in support of their Motions. See Hopkins v. Women’s Div., Gen. Bd. of Global

Ministries, 284 F. Supp. 2d 15, 25 (D.D.C. 2003) (citing FDIC v. Bender, 127 F.3d 58, 67–68

(D.C. Cir. 1997)), aff’d, 98 F. App’x 8 (D.C. Cir. 2004).

       If Plaintiff fails to file a timely response to Defendant’s Motion, the Court may treat it as

conceded and, if circumstances warrant, dismiss the case.


       SO ORDERED.

                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge

Date: February 23, 2022




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